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                        UNITED STATES DISTRICT COURT
                             DISTRICT OF MAINE


 UNITED STATES OF AMERICA                   )
                                            )
       v.                                   )         1:12-cr-00083-JAW-5
                                            )
 JAMES PROUDFOOT,                           )
 a/k/a “REGGIE”                             )


                     ORDER ON MOTION TO FORFEIT BAIL

       The Government moves to forfeit the Defendant’s bail and appearance bond

 based on his continued use of marijuana, a new criminal charge for sale of

 marijuana, the failure to appear at two scheduled Rule 11 hearings, his

 disappearance, and his resisting arrest. The Court concludes that the Defendant’s

 marijuana use and criminal charge would not justify forfeiting the bail but his

 failure to appear at two scheduled hearings, his subsequent disappearance, and his

 resisting arrest, separately and in combination, justify the requested bail forfeiture.

 I.    FACTS AND PROCEDURAL HISTORY

       James Proudfoot was indicted on May 17, 2012, for “knowingly and

 intentionally conspir[ing] with . . . persons known and unknown to commit offenses

 against the United States, namely, distribution and possession with intent to

 distribute 500 grams or more of a mixture or substance containing cocaine, a

 Schedule I controlled substance, and a mixture or substance containing oxycodone,

 a Schedule II controlled substance, in violation of Title 21, United States Code,
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 Sections 846 and 841(a)(1).” Indictment at 1-2 (ECF No. 1).1 An arrest warrant was

 issued the following day, Arrest Warrant (ECF No. 24), and Mr. Proudfoot was

 arrested on May 30, 2012, in the Southern District of New York.

        The same day, Mr. Proudfoot appeared in the Southern District of New York

 and was released on conditions, including Standard Condition 1, which required

 that the defendant “not violate federal, state, or local law while on release,” and

 Additional Condition 7(m), which required that the defendant “not use or

 unlawfully possess a narcotic drug or other controlled substances . . . .” Rule 5(c)(3)

 Docs. Attach 7 Order Setting Conditions of Release (ECF No. 190-7).

        On June 8, 2012, Mr. Proudfoot appeared in the District of Maine and

 pleaded not guilty before the Magistrate Judge. Minute Entry (ECF No. 173). The

 Magistrate Judge entered his plea and ordered Mr. Proudfoot’s continued release,

 subject to an Order Setting Conditions of Release.           Order Setting Conditions of

 Release (ECF No. 175) (Conditions of Release). The Conditions of Release included:

 Standard Condition 1; Additional Condition 7(a), stating “[t]he defendant must

 submit to supervision by [the U.S. Probation Office] and report for supervision [a]s

 directed”; and other standard and additional terms of release.                  Id. at 1-2.

 Additional Condition 7(m)—the prohibition against using or possessing a narcotic

 drug—was not checked as one of the conditions that “defendant’s release is subject

 to [ ].” Id. at 2.


 1      On August 16, 2012, a federal grand jury issued a superseding indictment against Mr.
 Proudfoot. Superseding Indictment (ECF No. 241). That indictment did not modify the charge but
 became the operative pleading and is the indictment to which he ultimately pleaded guilty. See
 Minute Entry (ECF No. 780).

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       As a condition of release, Mr. Proudfoot was ordered to execute an

 Appearance Bond in the amount of $100,000. Minute Entry (ECF No. 173); see

 Conditions of Release at 1-2 (“The defendant must sign an Appearance Bond, if

 ordered”; “[d]efendant to sign any necessary paperwork to assist the Government in

 the transfer of the $10,000.00 bond to the District of Maine”).        Mr. Proudfoot

 executed an Appearance Bond of $100,000 on June 8, 2012, secured by “$10,000

 cash/property.” Appearance Bond (ECF No. 176) (Bond). The bond stated in part:

       I, James Proudfoot (defendant), agree to follow every order of this
       court, or any court that considers this case, and I further agree that
       this bond may be forfeited if I fail: to appear for court proceedings; if
       convicted, to surrender to serve a sentence that the court may impose;
       or to comply with all conditions set forth in the Order Setting
       Conditions of Release.

 Bond at 1-2 (signed “J. Proudfoot”). The Appearance Bond contained a forfeiture

 provision, which stated in part: “The court may immediately order the amount of

 the bond surrendered to the United States, including the security for the bond, if

 the defendant does not comply with the agreement.” Id. at 1. On August 3, 2012,

 the Magistrate Judge granted Mr. Proudfoot’s motion to amend bail, reducing the

 amount of cash security to $6,000. Order Granting Without Obj. Mot. to Amend as

 to Def. (ECF No. 224).

       On June 24, 2013, the Government moved the Court to declare, pursuant to

 Rule 46(f)(1) of the Federal Rules of Criminal Procedure, “a forfeiture of the secured

 and unsecured bail that was posted to secure Defendant’s compliance with the




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 conditions of release ordered in this case.”2 Am. Mot. to Forfeit Bail (ECF No. 763)

 (Gov’t’s Mot.); see FED. R. CRIM. P. 46(f)(1) (“The court must declare the bail forfeited

 if a condition of the bond is breached”). The Government alleges multiple violations

 of Mr. Proudfoot’s bail conditions under Rule 46(f)(1), and further submits that this

 Court “has granted the forfeiture of a defendant’s bond under similar

 circumstances.” Gov’t’s Mot. at 4 (citing United States v. Mattero, 752 F. Supp. 2d

 78 (D. Me. 2010)).

        Mr. Proudfoot responded on July 31, 2013, asking the Court to “deny[] the

 government’s request for forfeiture of bail or, in the alternative, set[] aside in whole

 any forfeiture it may order. Resp. to Gov’t’s Mot. to Forfeit Bail (ECF No. 773)

 (Def.’s Opp’n). Mr. Proudfoot provided facts as to each incident mentioned by the

 Government, and “avers that the proffered violations of bail by Defendant allow the

 Court, in the interest of justice, to set aside any mandated forfeiture.” Id. at 2

 (quoting FED. R. CRIM. P. 46(f)(2) (“The court may set aside in whole or in part a bail

 forfeiture upon any condition the court may impose if: . . . (B) it appears that justice

 does not require bail forfeiture”)). Mr. Proudfoot argues that the Court should apply

 Rule 46(f)(2)(B) according to the rubric set forth in United States v. Teodoro

 Gonzalez, 452 F. App’x. 844 (11th Cir. 2011), under which Mr. Proudfoot argues

 that his “behaviors easily support[] the exercise of the Court’s discretion in ordering

 the remittitur of any bail forfeiture.” Def.’s Opp’n at 2. Mr. Proudfoot entered a


 2       The Government originally filed a motion to forfeit bail on June 24, 2013. Gov’t’s Mot. to
 Forfeit Bail (ECF No. 733). On July 23, 2013, the Government filed an amended motion. Gov’t’s Mot.
 The original motion was terminated on the day the amended motion was filed; the Court treats the
 amended motion as the operative pleading.

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 plea of guilty before the Court on August 1, 2013. Minute Entry (ECF No. 780).

 Immediately thereafter, the Court held oral argument on the Government’s motion.

 Id.; see Notice of Hr’g on Gov’t’s Mot. (ECF No. 766).

 II.   DISCUSSION

       The Government asserts that Mr. Proudfoot’s bail should be revoked and

 forfeited due to multiple violations of his bail conditions. Gov’t’s Mot. at 4. Mr.

 Proudfoot does not dispute many of the facts put forth by the Government but

 provides additional facts upon which he argues that bail should not be revoked and

 forfeited; in the alternative, if the Court finds that Mr. Proudfoot breached his bail

 conditions, he asks the Court to set aside the bail forfeiture under Federal Rule of

 Criminal Procedure 46(f)(2). Def.’s Opp’n at 1-3.

       A. Legal Standards

       Rule 46(f) of the Federal Rules of Criminal Procedure applies to bail

 forfeitures and contemplates a two-step process: (1) whether a bail condition was

 breached; and (2) whether, despite the breach, justice requires a forfeiture. FED. R.

 CRIM. P. 46(f). Regarding the first step, subpart one provides that “[t]he court must

 declare the bail forfeited if a condition of the bond is breached.” Id. 46(f)(1). Here,

 the Government has demonstrated and Mr. Proudfoot has effectively conceded that

 he violated some bail conditions. Thus, the Government has satisfied the first step

 in the bail forfeiture analysis. The focus turns to the second step—whether, despite

 the breach, justice requires forfeiture. FED. R. CRIM. P. 46(f)(2).




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        Under the analysis in United States v. Mattero, 752 F. Supp. 2d 78 (D. Me.

 2010), the Government argues that the Court should not set aside the bail

 forfeiture. In Mattero, the Court summarized and applied the four factors that the

 First Circuit adopted in United States v. Donlon, 909 F.2d 650, 657 (1st Cir. 1990),

 which serve to determine whether “justice does not require bail forfeiture.” Mattero,

 752 F. Supp. 2d at 80-82. Those factors are:

        (1) the willfulness of the defendant’s breach of conditions;

        (2) the participation of the sureties in apprehending the defendant;

        (3) the cost, inconvenience and prejudice suffered by the government as
        a result of the defendant’s breach; and

        (4) any explanation or mitigating facts.

 Mattero, 752 F. Supp. 2d at 80-81 (quoting Donlon, 909 F.2d at 657).3 In essence,

 the Government argues that Mr. Proudfoot engaged in five episodes which pursuant

 to Mattero require his bail to be revoked and forfeited under Rule 46.

        B.      Alleged Bail Violations

                1.      Defendant’s Possession of Marijuana

        In her June 8, 2012 Order Setting Conditions of Release, the Magistrate

 Judge imposed Standard Condition 1, that Mr. Proudfoot not “violate federal, state,

 or local law while on release.”           Conditions of Release at 1.           The Release form

 contains a more specific provision addressing the use of marijuana:

 3       Although the record is not crystal clear, the Court assumes that the source of the $6,000.00 is
 Mr. Proudfoot. Mr. Proudfoot says that Ebony Davis, his fiancé, posted $10,000 cash bail after he
 was arrested in Massachusetts and later in New York. Def.’s Opp’n at 1. After the bail amount was
 reduced to $6,000, Ms. Davis transferred a portion of the Massachusetts bail to the District of Maine.
 Id. Mr. Proudfoot does not argue that the cash belongs to his fiancé and the Court therefore assumes
 that he has standing to object to the motion for forfeiture. See Donlon, 909 F.2d at 657. In any
 event, as will be seen, Ms. Davis participated in Mr. Proudfoot’s bail violations.

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        The Defendant must: (m) not use or unlawfully possess a narcotic drug
        or other controlled substances defined in 21 U.S.C. § 802, unless
        prescribed by a licensed medical practitioner. This provision does not
        permit the use of marijuana even with a prescription, without further
        permission of the Court or probation officer.

 Id. at 2 (Condition 7(m)). As noted earlier, the Magistrate Judge did not check the

 box for Condition 7(m).          Despite this fact, the Government argues that Mr.

 Proudfoot’s possession and repeated use of the drug is a criminal offense under 21

 U.S.C. § 844(a), and that he therefore violated Standard Condition 1.4                          Gov’t’s

 Supplement to Am. Mot. to Forfeit Bail at 1-2 (ECF No. 782) (Gov’t’s Supp.). In

 support of its claim, the Government lists six instances in which Mr. Proudfoot

 tested positive for marijuana while on conditional release between July 16, 2012

 and May 13, 2013. Gov’t’s Mot. at 3.

        Section 844(a) of title 21 criminalizes the knowing or intentional possession

 of a controlled substance, including marijuana.                  A violation under § 844(a)

 committed by a person with a past conviction for a state or federal drug offense is a

 criminal offense punishable by a term of imprisonment of not less than fifteen days

 and not more than two years, 21 U.S.C. § 844(a), and the Government has provided

 evidence that Mr. Proudfoot has a prior conviction for a New York state drug

 offense.5 Gov’t’s Supp. Attach 1 Certificate of Disposition Indictment (ECF No. 782-


 4
         The Government originally claimed that the Defendant violated Condition 7(m). Gov’t’s Mot.
 at 1-2. However the Magistrate Judge did not check box 7(m) in her Order Setting Conditions of
 Release, and the Court concludes that this condition did not apply to Mr. Proudfoot. The question
 that remains is whether his use of marijuana violated Standard Condition 1 against new criminal
 conduct.
 5       21 U.S.C. § 844(a) states, in relevant part:

        It shall be unlawful for any person knowingly or intentionally to possess a controlled
        substance . . . . Any person who violates this subsection may be sentenced to a term

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 1); see also Information Charging Prior Conviction (ECF No. 219) (“At the time of

 the commission of the [instant offense], the defendant . . . had been convicted of . . .

 [o]ne count of Criminal Sale of a Controlled Substance in the 4th Degree, a Class C

 felony, in violation of New York Penal Law §220.34”).

         Mr. Proudfoot does not dispute that he used marijuana while on conditional

 release.    Def.’s Opp’n at 1.          In response, he provides mitigating information,

 including that he had a six month period of abstinence before the most recent

 positive test results, that his recent relapse was due to the “pressure of his

 impending plea and certain period of incarceration,” and that “though not to

 minimize his transgression, he used marijuana for his anxiety and did not resort to

 significantly more worrisome illicit drugs.” Id.

         From the Court’s perspective, Mr. Proudfoot’s use of marijuana, although not

 commendable, should not be grounds for forfeiting his bail. The reason is that the

 Magistrate Judge’s Order Setting Conditions of Release did not mark the condition

 box that addressed marijuana. In light of the absence of a specific prohibition in the



         of imprisonment of not more than 1 year, and shall be fined a minimum of $1,000, or
         both, except that if he commits such offense after . . . a prior conviction for any drug,
         narcotic, or chemical offense chargeable under the law of any State, has become final,
         he shall be sentenced to a term of imprisonment for not less than 15 days but not
         more than 2 years, and shall be fined a minimum of $2,500, except, further, that if he
         commits such offense after . . . two or more prior convictions for any drug, narcotic, or
         chemical offense chargeable under the law of any State . . . he shall be sentenced to a
         term of imprisonment for not less than 90 days but not more than 3 years, and shall
         be fined a minimum of $5,000.

 Although 21 U.S.C. § 844a(a) states that knowing possession of a controlled substance in “a personal
 use amount shall be liable to the United States for a civil penalty,” this provision is not applicable to
 Mr. Proudfoot because 844a(c) states “[a] civil penalty may not be assessed under [Section 844a] if
 the individual previously was convicted of a Federal or State offense relating to a controlled
 substance.”


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 bail conditions, Mr. Proudfoot’s use of marijuana could well have subjected him to a

 civil penalty but for his prior felony conviction; here, the trigger that transformed

 Mr. Proudfoot’s conduct from a civil violation to a federal felony was a prior

 conviction.   Even though his conduct in view of his prior conviction was ill-

 considered, applying the Donlon factors, the Court does not find that justice would

 be served by forfeiting his bail on this basis alone.

               2.    Defendant’s Alleged Sale of a Controlled Substance

       Mr. Proudfoot was arrested on October 27, 2012, and charged with the New

 York State offense of criminal sale of a controlled substance (marijuana), and at oral

 argument, the Government suggested that this incident is a bail violation of the

 condition not to violate state, federal, or local law. Gov’t’s Mot. at 3. Mr. Proudfoot

 responded that “it is [defense counsel’s] understanding that this charge is being

 dismissed by the state of New York.” Def.’s Opp’n at 1.

       On December 4, 2013, Mr. Proudfoot appeared before the Court for a

 presentence conference.     Minute Entry (ECF No. 944).       Before the presentence

 conference, Ebony Davis wrote the Court and enclosed what appears to be a court

 record from the Criminal Court of the City of New York, which seems to confirm

 that the criminal charge arising out of the October 27, 2012 arrest has been

 dismissed.    Although the Government expressed some skepticism about the

 authenticity of the document, for purposes of this motion, the Court assumes its

 accuracy and concludes that the new criminal charge has been dismissed.




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       The Government maintains that, even if the criminal charge has been

 dismissed, the Court should consider the conduct underlying the dismissed charge

 and conclude that justice requires the bail to be forfeited.     Again, although the

 Court presumably could consider acquitted conduct in determining whether justice

 requires forfeiture, here the evidence of Mr. Proudfoot’s actual conduct on October

 27, 2012 is scant, essentially saying that he sold marijuana to someone but giving

 no suggestion as to why the New York prosecutor declined prosecution. See Gov’t’s

 Mot. at 3. In view of the paucity of evidence and the dismissal of the charges, the

 Court concludes that justice would not be served by forfeiting bail on this basis.

              3.     Failure to Appear at Rule 11 Hearing

       The Government’s third alleged violation of bail is Mr. Proudfoot’s failure to

 appear at two scheduled change of plea hearings. Id. at 3-4. The Magistrate Judge

 imposed the general condition that Mr. Proudfoot “must appear in court as

 required.”     Conditions   of   Release   at   1.    In   signing   the   Defendant’s

 Acknowledgement, Mr. Proudfoot also promised “to appear as directed.” Id. at 3.

       The circumstances surrounding Mr. Proudfoot’s failures to appear are not

 encouraging. Mr. Proudfoot was indicted on May 17, 2012, Indictment (ECF No. 1),

 and he was arrested on May 30, 2012. After he was released on bail and after some

 continuances, the case was set for trial for May 7, 2013. Trial List (ECF No. 591).

 On April 23, 2013, Mr. Proudfoot moved to continue the trial on the ground that he

 was going to enter a plea of guilty, Mot. to Continue Off May Trial List (ECF No.

 665), and the Court granted the motion on May 7, 2013. Speedy Trial Order (ECF



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 No. 671). The change of plea hearing occurred on May 23, 2013; however, after Mr.

 Proudfoot displayed confusion and hesitancy about the potential sentence, the Court

 did not accept the guilty plea. Minute Entry (ECF No. 691).

         At defense counsel’s request, the case was rescheduled for a guilty plea for

 May 31, 2013. Notice of Hr’g (ECF No. 692). However, Mr. Proudfoot failed to

 appear at the May 31, 2013 Rule 11 hearing. Mr. Proudfoot apparently informed

 his attorney that he had missed the bus from New York City to Maine. Gov’t’s Mot.

 at 3. The Court reset the Rule 11 hearing for June 5, 2013. Notice of Hr’g (ECF No.

 705).   Again, for reasons that remain unclear, Mr. Proudfoot failed to appear.

 Minute Entry (ECF No. 718); Gov’t’s Mot. at 4. After the aborted Rule 11 hearing on

 June 5, 2013, the Government sought and obtained an arrest warrant for violating

 conditions of his release, specifically because of his then pending criminal charge.

 Arrest Warrant (ECF No. 717).       Even though the case was reset for trial, Mr.

 Proudfoot was not located. Gov’t’s Mot. to Continue Trial and to Remove Case from

 Trial List Until Def. is Located (ECF No. 731). Mr. Proudfoot was arrested in New

 York City on June 25, 2013. Arrest Warrant Returned (ECF No. 735).

         The language of the bail condition raises the question of whether the

 defendant is “required” to appear at a hearing that has been scheduled at his

 request to enter a guilty plea.    The question is complicated by the fact that a

 defendant is never required to enter a guilty plea. In this sense a Rule 11 hearing

 is different than other types of hearings, such as a trial, that the Court has

 scheduled at its own instance and at which his presence is essential. Of course,



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 even if a defendant has elected not to enter a guilty plea, it is decidedly unwise for

 him simply not to show up at the scheduled hearing—at least without a convincing

 excuse, and missing the bus is not on its face much of an excuse. But it stretches

 the bail condition language to conclude that the failure to appear at a voluntarily-

 scheduled hearing is a failure to appear at a required hearing and justifies the

 forfeiture of bail conditions.

        In addition to the bail conditions, however, Mr. Proudfoot executed an

 Appearance Bond. Appearance Bond (ECF No. 176). The critical language in the

 appearance bond reads:

        I, JAMES PROUDFOOT (defendant), agree to follow every order of this
        court, or any court that considers this case, and I further agree that
        this bond may be forfeited if I fail:

        to appear for court proceedings[.]

 Id. at 1. The language in the Appearance Bond is unequivocal. The two Rule 11s,

 though voluntarily scheduled at Mr. Proudfoot’s behest, were undoubtedly “court

 proceedings” to which Mr. Proudfoot expressly agreed to appear on pain of bail

 forfeiture.

        The Donlon factors contemplate that the Court will examine the willfulness

 of the defendant’s breach of conditions, the cost and inconvenience to the

 Government, and any explanation or mitigating factors. Donlon, 909 F.2d at 657.

 Here, the Court finds that Mr. Proudfoot’s failure to appear at the two scheduled

 Rule 11 hearings was willful. To miss a bus once may be a mistake; to miss twice is

 more likely deliberate.          The Court reaches this conclusion in part by the



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 circumstances around the June 5, 2013 non-appearance. According to Probation

 Officer Oswald, Mr. Proudfoot told his attorney that he had gotten on the bus and

 was heading to Maine. Gov’t’s Mot. at 4. Probation Officer Oswald confirmed that

 the bus had arrived from New York City on schedule but that Mr. Proudfoot was not

 a passenger. Id. Furthermore, as will be described, Mr. Proudfoot then avoided

 contact with his New York pretrial services officer and ultimately, when tracked

 down, resisted arrest. These combined facts satisfy the Court that Mr. Proudfoot’s

 failure to appear at the two scheduled Rule 11s was willful without any legitimate

 explanation or extenuating circumstance.       Finally, it is imperative that people

 scheduled for court hearings appear as scheduled. Mr. Proudfoot’s attorney, the

 prosecutor, the probation officer, court personnel, the court reporter, court security,

 the United States Marshal, and the Court itself were all prepared to proceed with

 the Rule 11 on both May 31, 2013 and June 5, 2013. The cost and inconvenience to

 the court system as a whole is obvious.

       The Court concludes that by failing to appear at the two scheduled Rule 11s,

 Mr. Proudfoot breached his promise in the Appearance Bond without any good

 excuse and that the bail must therefore be forfeited.

              4.     Failure to Cooperate with Pretrial                Services    and
                     Defendant’s Actions at the Time of Arrest

       The last two bases for the Government’s motion are interrelated and reveal

 egregious violations of the bail conditions. After Mr. Proudfoot elected not to appear

 at either the May 31, 2013 or June 5, 2013 Rule 11 hearings, Mr. Proudfoot

 essentially dropped out of pretrial supervision. Gov’t’s Mot. at 4. As of June 24,

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 2013, his Pretrial Services Officer Christina Feo of the Southern District of New

 York reported that she had not heard from Mr. Proudfoot and had not had any

 contact with him. Id. Officer Feo had left repeated messages with Mr. Proudfoot’s

 girlfriend in an attempt to locate him, but none of the messages had been returned.

 Id. In addition, according to Mr. Proudfoot’s attorney, there had been no contact

 between Mr. Proudfoot and his attorney since shortly before the scheduled court

 appearance on June 5, 2013. Id. The Government concluded that as of June 24,

 2013, Mr. Proudfoot’s whereabouts were unknown. Id.

        On June 25, 2013, Deputy United States Marshals D’Alessandro, Harrison,

 Betancur, Mendez, and Supervisory Deputy Karoly went to Mr. Proudfoot’s

 girlfriend’s Bronx apartment to attempt to arrest Mr. Proudfoot. Gov’t’s Ex. List at

 Ex. 2 Report of Investigation, U.S. Dep’t of Justice (ECF No. 781). The report states:

        DUSMs knocked and announced multiple times and spoke to neighbors
        to confirm PROUDFOOT was staying at the location. The residents
        failed to answer the door in a timely manner. DUSMs were able to
        hear voices from the apartment and were able to see movement from
        underneath the door. DUSM on perimeter was also able to see
        movement inside the apartment. DUSMs breached the door at
        approximately 0640. PROUDFOOT[’]s girlfriend came out of the back
        bedroom and told DUSMs that PROUDFOOT was not in the residence.
        After a room to room search DUSMs found PROUDFOOT in his
        girlfriend’s son[’]s bedroom in the back of a closet, hiding behind
        plastic storage containers. PROUDFOOT failed to obey commands
        from the DUSMs to show his hands. After PROUDFOOT resisted
        arrest DUSMs were able to subdue him by deploying a PSG X26 Taser.
        One prong made contact with PROUDFOOT and a drive stun was used
        to complete the circuit. Physical manipulation of PROUDFOOT[’s]
        arms were used to handcuff him and he was taken into custody.

 Id. at 1.




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       Although Mr. Proudfoot’s failure to appear in Maine for the scheduled Rule

 11s, charitably viewed, would not require forfeiture, his willful disappearance from

 pretrial supervision, his hiding from arresting officers and his resisting arrest are

 clear violations of the conditions underlying his pretrial release and mandate

 forfeiture of his cash bail. Applying the Donlon factors, the Court finds that Mr.

 Proudfoot’s breach of these conditions was in fact willful in the extreme. Mattero,

 752 F. Supp. 2d at 80-81 (quoting Donlon, 909 F.2d at 657). The Marshal Service

 sent no fewer than five Marshals to apprehend Mr. Proudfoot and it was a good

 thing they came in numbers. Proudfoot has offered no legitimate explanation or

 mitigating circumstance for his disappearance, his hiding, and his resistance of

 arrest and the Court can conceive of none. See id. at 81 (“[the defendant]’s return to

 custody is overshadowed by the manner of his capture; [the defendant] was taken

 into custody not because of his change of heart . . . .”). Finally to the extent Ms.

 Davis acted as Mr. Proudfoot’s surety in putting up the cash, she actively

 participated in a ruse to attempt to sidetrack the Marshals. See id. at 81-82.

       The facts make clear that Mr. Proudfoot has committed multiple violations of

 his bail conditions, which trigger the forfeiture provision in his appearance bond

 and applying the Donlon factors, the Court concludes that there is no “legitimate

 defense against the forfeiture of [his] bail bond.” Mattero, 752 F. Supp. 2d at 82

 (quoting United States v. Lunn, 519 F. Supp. 2d 145, 148 (D. Me. 2007)). As the

 Court stated in Mattero, “[i]t is the prospect of judicial enforcement of the bail

 conditions and the resultant financial harm to the surety that remain strong



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 incentives to keep defendants in compliance.” 752 F. Supp. 2d at 82. The Court

 declares Mr. Proudfoot’s $100,000 bond—$6,000 secured by cash and the remainder

 unsecured—forfeited in whole.

 III.   CONCLUSION

        The Court GRANTS the United States’ Amended Motion to Forfeit Bail (ECF

 No. 763).

        SO ORDERED.



                                     /s/ John A. Woodcock, Jr.
                                     JOHN A. WOODCOCK, JR.
                                     UNITED STATES DISTRICT JUDGE

 Dated this 18th day of December, 2013




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